Case 3:00-cr-01242-JM       Document 679        Filed 02/08/07        PageID.6539          Page 1 of 1



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  8                               UNITED STATES DISTRICT COURT
  9                            SOUTHERN DISTRICT OF CALIFORNIA
 10    KIMBERLY BAILEY,                                           CRIM. NO. 00-CR-01242-JM
                                                                  CIVIL NO. 06-CV-00155-JM
 11                                         Movant,
               vs.                                                ORDER DENYING MOTION TO
 12                                                               STAY PROCEEDINGS
       UNITED STATES OF AMERICA,
 13
                                        Respondent.
 14
 15          Movant Kimberly Bailey moves ex parte to stay these 28 U.S.C. §2255 proceedings and the
 16   criminal proceedings against co-defendant Humberto Iribe in Criminal Case No. 00cr1242. The court
 17   denies the motion to stay the §2255 proceedings as moot because final judgment was entered on
 18   December 8, 2006. The court also denies the motion to stay the criminal proceedings of Humberto
 19   Iribe. Movant is not a party to those proceedings and lacks standing to challenge on-going criminal
 20   proceedings against co-defendant Humberto Iribe.
 21          IT IS SO ORDERED.
 22   DATED: February 8, 2007
 23
                                                              Hon. Jeffrey T. Miller
 24                                                         United States District Judge
 25   cc: All Parties
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